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 5                                  UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,                          No.    CR-13-6016-EFS-01
 7                                                             CR-13-6016-EFS-02
                                    Plaintiff,                 CR-13-6016-EFS-03
 8                                                             CR-13-6016-EFS-04
                     v.                                        CR-13-6016-EFS-07
 9                                                             CR-13-6016-EFS-08
     RYAN ALBERT DODD (1),                                     CR-13-6016-EFS-09
10   TERRENCE LEROY HISSONG (2),                               CR-13-6016-EFS-10
     PATRICK BRADLEY BRANNAN (3),
11   STEPHANIE HILTON LIVESEY (4),
     JAMES MICHAEL HAY (7),                             ORDER ENTERING RULINGS FROM JUNE
12   PERRY MARK HOWARD (8),                             30, 2014 MOTION HEARING
     MARK NORRIS JOHNSON (9), and
13   DANIEL PAUL NIEBUHR (10),

14                                  Defendants.

15
             A motion hearing occurred in the above-captioned matter on June
16
     30,     2014.        Assistant        U.S.    Attorneys    Tyler      Tornabene    and     Sean
17
     McLaughlin appeared on behalf of the U.S. Attorney’s Office (USAO).
18
     Present     for      the    hearing    was    Defendant    Dodd     represented    by    Kevin
19
     Curtis,     Defendant         Hissong    represented       by      Mark   Vovos,   Defendant
20
     Stephanie Livesey represented by Robert Thompson and Peter Connick,
21
     Defendant       Hay        represented       by   Peter   Schweda,        Defendant      Howard
22
     represented by John Metro, Defendant Johnson represented by Julie
23
     Twyford, and Defendant Niebuhr represented by Bryan Hershman.1                           Before
24

25
     1
       Defendant Brannan and counsel Kenneth Therrien were not present.                    Defendant
26   Baird and counsel John R Crowley were not present.




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 1   the Court were a number of pretrial motions.                  After reviewing the

 2   pleadings and hearing argument the Court ruled on, or took under

 3   advisement, the outstanding motions.               This Order memorializes and

 4   supplements the Court’s oral rulings.

 5                            I.      USAO’S MOTIONS IN LIMINE

 6          Continued from the June 10, 2014 pretrial conference are the

 7   USAO’s Motion in Limine for Preliminary Ruling Admitting Exhibits, ECF

 8   No. 406, and Motion in Limine to Exclude Defense Witnesses, ECF No.

 9   409.   The motions were continued to permit counsel an opportunity to

10   confer and reach any possible stipulations.             On June 25, 2014 counsel

11   filed a stipulation addressing most of the issues with exhibits.                 ECF

12   No. 552.    At the June 30, 2014 hearing, counsel represented that based

13   upon the stipulations and changes since the June 10, 2014 pretrial

14   conference, the necessary exhibits and witnesses may have changed.

15   Accordingly, at this time, the Court denies the motions, with leave to

16   refile after counsel have conferred and both parties better understand

17   the new dynamics of the cases they plan to present in September.

18                      II.        DEFENDANTS’ MOTIONS TO DISMISS

19          Pending before the Court, are three separate motions to dismiss

20   filed by Defendants seeking dismissal of the Superseding Indictment

21   for either Brady violation or prosecutorial misconduct.                At the June

22   30, 2014 hearing counsel for Defendant Livesey withdrew their motion,

23   ECF No. 506.

24   //

25   //

26   /




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 1   A.      Legal Standard

 2           An indictment may be dismissed with prejudice under either of

 3   two theories:

 4           [First, a] district court may dismiss an indictment on the
             ground of outrageous government conduct if the conduct
 5           amounts to a due process violation.      [Second, i]f the
             conduct does not rise to the level of a due process
 6           violation, the court may nonetheless dismiss under its
             supervisory powers.
 7
     United States v. Barrera–Moreno, 951 F.2d 1089, 1091 (9th Cir. 1991)
 8
     (citations omitted).         See United States v. Chapman, 524 F.3d 1073,
 9
     1084 (9th Cir. 2008).           A district court may exercise its supervisory
10
     power    “to   implement    a     remedy    for    the    violation    of   a   recognized
11
     statutory or constitutional right; to preserve judicial integrity by
12
     ensuring that a conviction rests on appropriate considerations validly
13
     before a jury; and to deter future illegal conduct.”                   United States v.
14
     Simpson,    927   F.2d    1088,    1090     (9th   Cir.    1991).      However,   because
15
     “[d]ismissing      an     indictment       with    prejudice        encroaches    on   the
16
     prosecutor's charging authority,” this sanction may be permitted only
17
     “in cases of flagrant prosecutorial misconduct.”                  Id. at 1091.
18
             A Brady violation occurs when the government fails to disclose
19
     evidence materially favorable to the accused.                   See Brady v. Maryland,
20
     373 U.S. 83, 87.         The Brady duty extends to impeachment evidence as
21
     well as exculpatory evidence, United States v. Bagley, 473 U.S. 667,
22
     676 (1985), and Brady suppression occurs when the government fails to
23
     turn over even evidence that is “known only to police investigators
24
     and not to the prosecutor,” Kyles v. Whitley, 514 U.S. 419, 438
25
     (1995).        “Such    evidence    is     material      ‘if   there   is   a   reasonable
26




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 1   probability that, had the evidence been disclosed to the defense, the

 2   result of the proceeding would have been different.’”                           Strickler v.

 3   Greene, 527 U.S. 263, 280 (1999).

 4   B.    Defendants’ Motion to Dismiss Indictment, ECF No. 498

 5         Defendants      Dodd,   Hissong,     Livesey,      Hay,     Howard,       and   Johnson,

 6   joined by Defendant Brannan, seek dismissal of the indictment for

 7   prosecutorial misconduct for failing to disclose Brady impeachment

 8   material relating to the DOE-OIG investigation in 2006 Audit Report on

 9   the   “Performance-Based        Contract     Incentives          at   the   Hanford      Site”

10   (Report).     In the alternative, Defendants request disclosure of all

11   documents, audits, work papers, and other related materials to the

12   2006 investigation.       By the June 30, 2014 hearing, defense counsel had

13   already    received     the   2006    audit,     which     had    always    been      publicly

14   available.    ECF No. 532-1.

15         The Court does not find any Brady violation as the publicly

16   available 2006 audit is not material to the alleged time card fraud

17   and conspiracy.       In pertinent part, the Report concluded:

18         Although   the   ORP   and   Richland   intended  for   their
           performance-based    contract   incentives   to  be   result-
19         oriented, in certain cases, the work assigned to site
           contractors by these offices was not realistic or
20         achievable.     As a result, the Department’s limited
           financial resources were applied to incentivize end-states
21         that were not readily attainable; and, fees were paid for
           work that could not be completed.
22
     ECF No. 532-1.
23
           It    did   not   address      the   culture    at    the       Hanford    site,     time
24
     reporting practices, or the practice of conducting eight-hour overtime
25
     callouts.         Additionally,       as   the     report,        already       provided    to
26




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 1   Defendants, is not material, there is no Brady obligation to produce

 2   the underlying working papers from the audit.                         The USAO did not engage

 3   in     misconduct    let     alone      misconduct          justifying       dismissal       of    the

 4   Superseding Indictment.            Accordingly, the Court denies the motion.

 5   C.      Defendants’       Motion       to   Dismiss        Indictment      or    In     Alternative

 6           Compel Production of Brady Material, ECF No. 501

 7           Defendants       Dodd,    Hissong,        Brannan,     Livesey,      Hay,       Howard,     and

 8   Johnson, joined by Defendant Niebuhr, seek dismissal of the indictment

 9   for prosecutorial misconduct by failing to disclose Brady material,

10   intentionally       utilizing      a     parallel      civil       prosecution        to   influence

11   government witnesses, and distorting the fact finding process to the

12   prejudice of Defendants.                Alternatively, Defendants request that the

13   USAO immediately disclose all contacts, written or oral, made with any

14   potential      witness      in   relation      to     the     threat    of      civil      fines   and

15   penalties.

16           First,     the   Court     does     not     find     any    offensive      or      outrageous

17   conduct on the part of the USAO let alone misconduct that would rise

18   to the level justifying dismissal of the Superseding Indictment.                                   The

19   USAO    has    engaged      in   the    use    of     simultaneous         criminal        and    civil

20   investigations.             However,        courts     in    reviewing       the      simultaneous

21   investigations           have       been          concerned         only        when         material

22   misrepresentations were made about the nature of an investigation or

23   potential      defendants        were    misled      to     incriminate      themselves.            See

24   United States v. Stringer, 535 F.3d 929 (9th Cir. 2008); United States

25   v. Scrushy, 366 F. Supp. 2d 1134 (N.D. Ala 2005).                            Here, such conduct

26   is     not    at   issue.        Instead,      Defendants          primarily       challenge        the




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 1   communication       by   the      USAO   with    prospective        government      witnesses

 2   regarding civil liability.            There is nothing improper about the nature

 3   of the USAO conduct in pursuing its civil and criminal enforcement

 4   obligations.         The    resolution      of     potential       liabilities       of    such

 5   witnesses might result in the testimony of knowledgeable witnesses who

 6   might otherwise be privileged.              Accordingly, on the record before it,

 7   the Court finds no outrageous conduct with could justify dismissal.

 8   However, this is not to say that, as discussed in United States v.

 9   Juan, 704 F.3d 1137, 1142 (9th Cir. 2013), the government may lead a

10   witness to materially change their testimony.                      If such a substantial

11   interference was to be shown by a preponderance of the evidence that

12   would be another matter.            Here, there is no evidence any witness has

13   been compelled to change their testimony nor that they have changed

14   any prior statement.             Accordingly, the Court denies the motion as to

15   dismissal of the indictment.

16        Next,     as   to     the    ongoing   negotiations          with   Mr.    Chapman,   the

17   parties agreed that Defendants have been provided all the write-ups

18   and emails related to Mr. Chapman’s negotiations, as well as, drafts

19   of proposed agreements.             However, the final agreement does not yet

20   exist.   The USAO has agreed it will be produced once it is finalized.

21   Accordingly, Defendants’ motion is granted as to the production of any

22   agreements with Mr. Chapman.

23        Finally, as to the production of any deals reached with other

24   witnesses, Defendants seek production of any agreements, deals, and

25   any offers or demands to make an agreement or deal.                            In Phillips v.

26   Ornoski, 673 F.3d 1168, 1187 (9th Cir. 2012), the Ninth Circuit found




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 1   a Brady violation arising out of the failure of a plea offer, made to

 2   a witness’s attorney and allegedly communicated to the witness even

 3   though     it   was    not     accepted.           The    Ninth    Circuit     found       that    the

 4   existence of that offer was “indisputably evidence ‘favorable to the

 5   accused . . . because it is impeaching,’ and was clearly subject to

 6   the   duty      of    disclosure          established       in     Brady.”         Id.    at    1188.

 7   Accordingly, here the Court finds that any offer or target letters

 8   offering     to      resolve      liability,       even    if     not   accepted,        made    to   a

 9   potential witness who is expected to testify, must be disclosed.

10                                           III. CONCLUSION

11         Accordingly, IT IS HEREBY ORDERED:

12         1.        USAO’s Motion in Limine to Exclude Defense Witnesses, ECF

13                   No.    409,       and   Motion     in     Limine    for   Preliminary           Ruling

14                   Admitting Exhibits, ECF No. 406, are DENIED WITH LEAVE TO

15                   RENEW.

16         2.        Defendants’ Motion to Dismiss Indictment, ECF No. 498, is

17                   DENIED.

18         3.        Defendants’ Motion to Dismiss Indictment or Alternatively

19                   Compel    Production         of    Brady     Material,       ECF    No.     501,      is

20                   GRANTED      IN    PART    (production       of     the   agreement        with    Mr.

21                   Chapman and any other witness who receives or is offered a

22                   deal and whom the USAO expects to call as a witness) AND

23                   DENIED IN PART (dismissal of indictment).

24         4.        Defendant         Livesey’s       Motion    to     Dismiss    for        Failure      to

25                   Provide Brady Material, ECF No. 506, is WITHDRAWN.

26   //




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 1           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

 2   Order and provide copies to all counsel.

 3           DATED this 7th day of July 2014.

 4                                        s/Edward F. Shea
                                           EDWARD F. SHEA
 5                              Senior United States District Judge

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